                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                ROCKINGHAM DIVISION

HEATHER KELLEY,                               )
                                              )
       Plaintiff,                             )
                                              )       No. 1:10-cv-919
       vs.                                    )
                                              )
GLOBAL CREDIT & COLLECTION                    )
CORPORATION,                                  )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, HEATHER KELLEY, by and through her attorney, M.

LYNETTE HARTSELL, and for her Complaint against the Defendant, GLOBAL CREDIT &

COLLECTION CORPORATION, Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the North

Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts from

Consumers Statute, N.C. Gen. Stat. § 58-70-90, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.




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                                              PARTIES

        3.     Plaintiff is an individual who was at all relevant times residing in Laurinburg,

North Carolina.

        4.     Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3) and N.C. Gen. Stat. §

58-70-90(2), as she is a natural person allegedly obligated to pay a debt.

        5.     At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6) and as a “collection agency” within the meaning of N.C. Gen. Stat. § 58-

70-90(1), in that it held itself out to be a company collecting a consumer debt allegedly owed by

Plaintiff.

        6.     On information and belief, Defendant is a corporation of the State of Delaware,

which is licensed to do business in North Carolina and which has its principal place of business

in Williamsville, New York.

                                              COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

        7.     During or about September of 2010, a representative and/or employee of

Defendant who represented himself as “Mr. Bray,” contacted Plaintiff by telephone in an attempt

to collect the aforementioned alleged debt.

        8.     However, Mr. Bray failed to identify himself and/or Defendant as a debt collector

during the course of said communication with Plaintiff.

        9.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:




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               a.       Failing to disclose in every communication with Plaintiff that the

                        communication was from a debt collector, in violation of 15 U.S.C.

                        §1692e(11); and

               b.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       WHEREFORE, Plaintiff, HEATHER KELLEY, respectfully prays for a judgment

against Defendant as follows:

               a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.

                                              COUNT II

          (Violation of the North Carolina Prohibited Practices by Collection Agencies

                    Engaged in the Collection of Debts from Consumers Statute)

       10.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       11.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

North Carolina Prohibited Practices by Collection Agencies Engaged in the Collection of Debts

from Consumers Statute in one or more of the following ways:

               a.       Failing to disclose in every communication with Plaintiff that the

                        communication was from a debt collector, in violation of N.C. Gen. Stat. §

                        58-70-110(2); and




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               b.      By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with North Carolina law.

       WHEREFORE, Plaintiff, HEATHER KELLEY, respectfully prays for a judgment

against Defendant as follows:

               a.      Statutory damages of $4,000.00 for each violation of the North Carolina

                       Prohibited Practices by Collection Agencies Engaged in the Collection of

                       Debts from Consumers Statute;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.



                                                      Respectfully Submitted,

                                                      /s/ M. Lynette Hartsell
                                                      M. Lynette Hartsell (9845)
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